                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

DEMOCRATIC EXECUTIVE
COMMITTEE OF FLORIDA, et al.,
     Plaintiffs,
v.                                              Case No. 4:18-CV-00520-MW-MJF
KENNETH DETZNER, et al.,
     Defendant and Defendant-Intervenors.

       SECRETARY’S SECOND NOTICE OF COMPLIANCE WITH
         SUPPLEMENTAL ORDER GRANTING MOTION FOR
                  PRELIMINARY INJUNCTION

      In the Supplemental Order Granting Motion for Preliminary Injunction, this

Court directed the Secretary “to collect from all 67 counties the number of ballots

that were cured following the entrance of the order [granting preliminary injunction]

and to file such on or before November 30, 2018,” and to supplement the information

“once per week” until complete. DE 78 at 1-2. Consistent with this Court’s Order,

the Secretary provides the relevant numbers for all 67 of Florida’s counties. See

Attachment 1.

                                       Respectfully submitted by:

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Dated: December 7, 2018   Counsel for the Secretary of State




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                       CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and correct copy of the foregoing was served

to all counsel of record through the Court’s CM/ECF system on this 7th day of

December, 2018.

                                   /s/ Mohammad O. Jazil
                                   Attorney




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